         Case 8:17-bk-09566-RCT        Doc 11     Filed 11/30/17    Page 1 of 2




                      UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

IN RE:                                             Case No. 8:17-bk-9566-KRM
                                                   Chapter 13
Daffany Yuccale Prentice,

      Debtor.
________________________/

                     MOTION FOR REFERRAL TO
        MORTGAGE MODIFICATION MEDIATION BETWEEN
  DEBTOR AND ROUNDPOINT MORTGAGE SERVICING CORPORATION
         (Property Address: 10440 Hallmark Blvd Riverview, FL 33578)

         COMES NOW, Debtor, Daffany Yuccale Prentice, by and through her undersigned

counsel and hereby files her Motion for Referral to Mortgage Modification Mediation

between Debtor and Roundpoint Mortgage Servicing Corporation. (hereinafter referred to

as “ROUNDPOINT”), and states:

   1. Debtor filed her Chapter 13 case in an attempt to retain her primary residence.

   2. Debtor owns real property located at 10440 Hallmark Blvd Riverview, FL 33578,

         (the “Real Property”).

   3. The Real Property is encumbered by one (1) mortgage. ROUNDPOINT is the

         dedicated agent servicing the mortgage on Debtors’ Real Property, loan account

         number: xxxxxxxxx0902.

   4. Debtor would like to modify the terms of the mortgage with ROUNDPOINT, which

         encumbers her primary residence. Debtor’s income would allow her to contribute

         as much as thirty-one percent (31%) of her current gross monthly income to

         payment of the modified mortgage debt.




                                           1
        Case 8:17-bk-09566-RCT           Doc 11      Filed 11/30/17     Page 2 of 2




   5. Mediation, pursuant to Local Rule 9019-2, will assist the parties in negotiation of

       modification of the relevant mortgage.

   6. Debtor and Lender will each pay $250.00 to the Mediator within seven (7) days of

       mediator selection and will equally pay for any additional hourly fees.

       WHEREFORE, Debtor, Daffany Yuccale Prentice, requests entry of an Order

referring this case to mediation and for such other and further relief as this court deems just

and proper.


                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been
provided to the following parties either by electronic mail or by first class U. S. Mail:
U.S. Trustee, 501 East Polk Street, Suite 1200, Tampa, Florida 33602, Kelly Remick,
Chapter 13 Trustee, Post Office Box 6099, Sun City Center, FL 33571, Jason A Weber,
Esq., Sirote and Permutt, P.C., Counsel for Mortgage Holder, 200 East Broward Blvd,
Suite 900, Ft Lauderdale, FL 33301, jweber@sirote.com, Daffany Y. Prentice, 10440
Hallmark Blvd, Riverview, FL 33578, and by certified mail, to Kevin Brungardt,
CEO, RoundPoint Mortgage Servicing Corporation, 5032 Parkway Plaza Boulevard,
Charlotte, North Carolina 28217, on the 30th day of November, 2017.



                                               /s/ Robert M. Geller
                                               Robert M. Geller, Esq.
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